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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE
COMMISSION,

                      Plaintiff,

      v.                                            No. 1-23-cv-01599-ABJ-ZMF

BINANCE HOLDINGS LIMITED,
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS
INC., AND CHANGPENG ZHAO,

                     Defendants.


                            [PROPOSED] PROTECTIVE ORDER

        Upon consideration of the Joint Motion for a Protective Order and pursuant to Federal

Rule of Civil Procedure 26(c), Federal Rule of Evidence 502(d), and for good cause shown, IT

IS HEREBY ORDERED that this Protective Order (hereafter the “Order”) shall control the

disclosure, dissemination, and use of material produced in discovery in the above-captioned

litigation (hereafter the “Litigation”).

        This Order shall govern the production, use, and disclosure of all information and

materials produced by any party or non-party in response to any discovery request and the

informal exchange of information in the Litigation (including, but not limited to, documents,

interrogatory answers, responses to requests for admissions, and deposition transcripts and

exhibits), all information contained in those materials, and all copies, excerpts, or summaries of

those materials (collectively, “Discovery Material”).




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          Parties issuing any discovery to a non-party will provide them with a copy of this order

 at the time discovery is served to ensure the non-parties producing documents and information

 are aware of the requirements set forth herein.

          As described below, the parties shall meet and confer and no later than 60 days before

 summary judgment briefs are due submit a joint proposal to the Court concerning the use of

 Protected Material for summary judgment, at trial, and for any subsequent appeal and propose

 any corresponding modifications to this Protective Order.

                      I.       PROTECTED CONFIDENTIAL MATERIAL

         1.     Designation of Protected Material. A party or non-party may, in good faith,

designate Discovery Material as CONFIDENTIAL or HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY and therefore subject to the protections and requirements of this

Order.    Any party may designate Discovery Material as CONFIDENTIAL that the party

reasonably believes is confidential information because it falls into at least one of the following

categories:

                (a)        Nonpublic trade secret, proprietary information, and financial information,

                including profitability reports or estimates, percentage fees, design fees, royalty

                rates, minimum guarantee payments, sales reports, and sales margins;

                (b)        Nonpublic material relating to ownership or control of any non-public

                company;

                (c)        Nonpublic information about the identities of individuals who hold and

                control any private or administrative keys relating to company or customer crypto

                assets;

                (d)        Nonpublic customer information including the identities of customers;



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                (e)      Nonpublic business plans, product development information, or marketing

                plans;

                (f)      Any information of a confidential, personal, or intimate nature regarding

                any individual, including any such individual’s status or identification as a

                whistleblower, victim, or investor related to this Litigation;

                (g)      information which an FDIC-Receiver is legally obligated by law to keep

                confidential or that a FDIC-Receiver would not normally reveal to third parties

                except in confidence or has undertaken with others to maintain in confidence;

                (h)      any information that could compromise the security of customer accounts

                or assets held by any party or non-party; or

                (i)      Any other category of information hereinafter given confidential status by

                the Court.

        CONFIDENTIAL information also includes any information previously produced and

designated as confidential in this litigation.

        Any party or non-party may designate Discovery Material as HIGHLY CONFIDENTIAL

– ATTORNEYS’ EYES ONLY that is highly sensitive, non-public information that falls into one

of the categories above that the party reasonably believes is so sensitive that its disclosure to

persons other than those permitted pursuant to this Order, is substantially likely to result in

significant injury to the Designating Party.

        The    parties   recognize    that   designations   of   CONFIDENTIAL       or   HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY shall not apply to all documents and

information produced in discovery, and the designation will be applied to only Discovery Material

that specifically qualifies as set forth herein.




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       Discovery Material designated CONFIDENTIAL or HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY is “Protected Material.” Consistent with the requirements of this

paragraph, a party may, within twenty-one (21) calendar days of receipt of the Discovery

Materials, by written notice to the other parties, designate as CONFIDENTIAL or HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY any Discovery Materials produced or given by

the other parties or by a nonparty but not designated CONFIDENTIAL or HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY by that other party or non-party.

       2.      Limitations on Use. Protected Material and its contents, as well as copies

(electronic or otherwise), summaries, notes, memoranda, and computer databases (to the extent

such materials are reflected or stored in said databases) relating thereto, shall be used solely by

the receiving party for the purpose of litigating the Litigation, shall be and remain confidential,

and shall not be disclosed in any fashion, nor used for any purpose other than litigating the

Litigation pursuant to the terms of this Order. Notwithstanding the foregoing, this Order shall not

preclude or in any way limit the SEC from using, retaining, or disclosing any Discovery Materials

without notifying or seeking permission from the producing party, including any Protected

Material, investigative files, or other information, within the Commission itself; to any other

governmental agencies or bodies or other appropriate agencies, entities, or persons consistent with

its statutory and regulatory obligations including its “Routine Uses of Information,” set forth in

the Commission’s Forms 1661 (Supplemental Information for Entities Directed to Supply

Information to the Commission Other Than Pursuant to Commission Subpoena) and 1662

(Supplemental Information for Persons Requested to Supply Information Voluntarily or Directed

to Supply Information Pursuant to a Commission Subpoena), regardless of whether the Form itself




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applies to the materials or information or the production thereof; and/or to comply with any other

statutory or regulatory obligation.

       3.      Limited Disclosure of Protected Material Designated as CONFIDENTIAL.

Protected Material designated as CONFIDENTIAL may be disclosed, subject to the specific

procedures and provisions contained in this Order, to the following persons and/or entities only:

               (a)     The parties;

               (b)     This Court and the officers, employees, and any stenographic reporters of

               such courts, under seal, in camera or ex parte;

               (c)     Counsel representing the parties in the Litigation and counsel and personnel

               of the SEC advising the SEC in the Litigation, as well as counsel’s support

               personnel whose functions require access to Protected Material (collectively

               “Attorney Professionals”);

               (d)     Outside vendors who perform scanning, photocopying, computer

               classification, translation, or similar clerical functions, or who process

               electronically stored documents and trial technology, and graphics, retained by the

               parties or their counsel in the Litigation, but only for the purposes of performing

               such services and only so long as necessary to perform those services;

               (e)     Experts consulted or retained by counsel for assistance in the preparation or

               prosecution of claims or defenses in the Litigation, for the purposes of performing

               such services, preparing a written opinion, preparing to testify, or assisting counsel

               in the Litigation;

               (f)     A witness who has been noticed or subpoenaed for deposition or a court

               appearance in the Litigation to the extent reasonably necessary for the preparation




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               or giving of his or her testimony about Protected Material, and such witness may

               not retain the Protected Material;

               (g)       An author or recipient of the Protected Material who is identified on the

               face of the Protected Material;

               (h)       Arbitrators or mediators engaged by the parties in connection with this

               action;

               (i)       Any other person who is so designated by order of this Court or by written

               agreement of the producing party.

       4.      No Protected Material designated as CONFIDENTIAL may be disclosed to persons

identified in subparagraphs (e), (f), or (i) of the prior Paragraph until they have reviewed this Order

and have executed a written agreement in the form attached hereto as Exhibit A, which executed

agreements shall be maintained by counsel of record for the party making the disclosure to such

persons (provided that Counsel who makes such disclosure shall retain the written agreement but

shall not be required to produce it to opposing counsel until the deposition of the person or unless

ordered by the Court). To the extent any materials or information subsequently designated

CONFIDENTIAL has already been disclosed, counsel for the disclosing party must ensure the

recipient(s) of such Protected Material is notified of the designation and has reviewed and will

comply with the Order that shall apply to the Protected Material already disclosed.

       5.      Limited      Disclosure   of    Protected    Material    Designated     as   HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY. Protected Material designated as HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY may be disclosed, subject to the specific

procedures and provisions contained in this Order, to the following persons and/or entities only:




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              (a)       This Court and the officers, employees, and any stenographic reporters of

              such courts, under seal, in camera or ex parte;

              (b)       Attorney Professionals;

              (c)       Outside vendors who perform scanning, photocopying, computer

              classification, translation, or similar clerical functions, or who process

              electronically stored documents and trial technology, and graphics, retained by the

              parties or their counsel in the Litigation, but only for the purposes of performing

              such services and only so long as necessary to perform those services;

              (d)       Experts consulted or retained by counsel for assistance in the preparation or

              prosecution of claims or defenses in the Litigation, for the purposes of performing

              such services, preparing a written opinion, preparing to testify, or assisting counsel

              in the Litigation;

              (e)       An author or recipient of the Protected Material who is identified on the

              face of the Protected Material;

              (f)       Arbitrators or mediators engaged by the parties in connection with this

              action;

              (g)       Any other person who is so designated by order of this Court or by written

              agreement of the producing party.

       6.     No Protected Material designated as HIGHLY CONFIDENTIAL – ATTORNEYS’

EYES ONLY may be disclosed to persons identified in subparagraphs (d) or (g) of the prior

Paragraph until they have reviewed this Order and have executed a written agreement in the form

attached hereto as Exhibit A, which executed agreements shall be maintained by counsel of record

for the party making the disclosure to such persons (provided that Counsel who makes such




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disclosure shall retain the written agreement but shall not be required to produce it to opposing

counsel until the deposition of the person or unless ordered by the Court). To the extent any

materials or information subsequently designated HIGHLY CONFIDENTIAL has already been

disclosed, counsel for the disclosing party must ensure the recipient(s) of such Protected Material

is notified of the designation and has reviewed and will comply with the Order that shall apply to

the Protected Material already disclosed.

       7.      Parties’ Use of Their Own Documents and Records. Nothing in this Order shall

prevent a party or non-party that produces Discovery Material from using or disclosing its own

information, including Discovery Material and Protected Material, in any manner it chooses.

       8.      Mechanics of Designation. No designation of CONFIDENTIAL or HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY shall be effective as to any element of Protected

Material unless there is placed on or affixed to each page of such Protected Material a marking of

“CONFIDENTIAL” or "HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” In the

case of electronic documents produced in native format, such designation may be made on the

physical media (e.g., disk, flash drive) containing such electronic documents and on a slipsheet

accompanying the native file if the file is served electronically. Testimony may be designated

CONFIDENTIAL or HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY within thirty

(30) calendar days after receipt of a certified transcript of said testimony by furnishing to counsel

for the other parties a detailed statement of the specific portions of any such information, by page

and line number or exhibit number: by designating lines and pages as confidential by highlighting

or digital marking; or by a statement on the record at the time the testimony is given. Pending the

expiration of said thirty (30) calendar days, all parties shall presumptively treat the entire

deposition transcript as CONFIDENTIAL. In addition to the requirements of this Order, the court




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reporter before whom a deposition or other testimony relating to Protected Material is taken shall,

at the request of any party, designate a portion of the deposition or any exhibits or portions thereof

containing Protected Material as CONFIDENTIAL or HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY.

       9.      Challenges to Designation. Any party may seek an order from the Court

determining that specified Protected Material is not entitled to be treated as CONFIDENTIAL or

HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY. Prior to seeking such an order, the

party seeking the order must notify the designating party in writing specifying the confidentiality

designation it is challenging, and the basis for such challenge. The designating party shall then

have seven (7) calendar days from receipt of that notice to respond explaining its basis for the

designation. The challenging party may then, at any time thereafter, file a motion challenging the

designation. Failure to provide a timely response to a written notification of a challenge to a

confidentiality designation shall be deemed a waiver of the right to demand confidential treatment

of the challenged material, and no motion challenging the designation for the material subject to

the waiver shall be necessary. In addition, a challenging party may also challenge a confidentiality

designation in connection with a motion and accompanying motion to seal provided, however, that

the moving party comply with the notice and timing provisions in this paragraph. The challenging

party may identify for the court that certain information is subject to a challenge of the

confidentiality designation. Material subject to a challenged confidentiality designation shall

remain Protected Material under the terms of this Order unless and until the right to demand

confidential treatment has been waived pursuant to this paragraph, or the Court determines that

such material is not entitled to such designation. For the purposes of any motion or other request

brought by a party seeking an order from the Court determining that specified Protected Material




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is not entitled to be treated as CONFIDENTIAL or HIGHLY CONFIDENTIAL – ATTORNEYS’

EYES ONLY, the burden shall be on the designating party to demonstrate that such designation is

appropriate.

       10.     Late Designation. The failure of a party or nonparty to designate information or

documents as CONFIDENTIAL or HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

in accordance with this Order, and the failure to object to such a designation, is not a waiver of the

right to do so and shall not preclude a party or nonparty at a later time from subsequently

designating or objecting to the designation of such information or documents as CONFIDENTIAL

or HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY. However, the parties understand

and acknowledge that a party’s or nonparty’s failure to designate information or documents as

CONFIDENTIAL or HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY relieves the

other parties of any obligation of confidentiality until such a designation is made. Promptly after

written notice to the receiving parties of any such subsequent designation by the producing party

or nonparty, which notice shall specifically identify the documents or information to be designated,

the parties and, if applicable, nonparties, shall confer and agree upon a method to mark as

CONFIDENTIAL or HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY any such

subsequently designated documents or information, as well as copies, excerpts, or summaries of

those materials. All documents containing any such subsequently designated information will be

thereafter treated in accordance with this Order.

       11.     Use of Protected Material in Court Filings and Proceedings.

       (a)     Parties seeking to file with the Court any motions, briefs, supporting documents, or

other filings containing Protected Material (including any unresolved challenge to a

Confidentiality designation) shall redact such Protected Material in the public filing or file the




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Protected Material under seal and submit an unredacted version to all parties and the Court at the

time of filing. Notwithstanding Local Rule 5.1(h), parties may file any document that is entirely

Protected Material under seal without filing a motion to seal at the time of filing, as long as the

parties comply with the procedure for motions to seal set forth in subpart (b) immediately below.

Parties should minimize the need to file documents under seal.

       (b)     Within 7 calendar days of the completion of all briefing with respect to a motion or

filing involving Protected Material (i.e., within 7 calendar days after the filing of any opposition

and, if applicable, supporting reply), the party         that designated the Protected Material

CONFIDENTIAL or HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY when it was

produced shall file a motion to seal that either explains the basis for keeping each instance of

Protected Material redacted or under seal or agrees to withdraw the confidentiality designation(s).

Any party may oppose the motion to seal in whole or in part as to the request to keep the Protected

Material redacted or under seal and/or maintain the designation of the Protected Material as

CONFIDENTIAL OR HIGHLY CONFIDENTIAL. Notwithstanding the designation of material

as CONFIDENTIAL or HIGHLY CONFIDENTIAL, or initial treatment as redacted or under seal,

there is no presumption that Protected Material will be treated by the Court as such and maintained

under seal. The Court retains discretion not to afford confidential treatment to any Protected

Material submitted to the Court or presented in connection with any motion, application, or

proceeding that may result in an order and/or decision by the Court unless it is able to make the

specific findings required by law to retain the confidential nature of such material.

       (c)     If a non-party designated the Protected Material at-issue in paragraphs 7(a) and

7(b), then the party who obtained that Protected Material from the non-party or used that Protected

Material in a filing, is responsible for conferring with the non-party to advise them of procedures




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set forth in paragraph 7(b) of this Order and to determine whether the non-party believes that the

Protected Material should remain under seal or be unsealed in redacted form.

       (d)     The parties shall meet and confer and, no less than 60 days before summary

judgment briefs are due and submit a joint proposal to the Court concerning the use of Protected

Material for summary judgment, at trial, and for any subsequent appeal and any corresponding

modifications to this Protective Order that may be necessary.

       12.     Non-Waiver. The designation of Protected Material pursuant to the Order shall not

be construed as a waiver of any objection or a concession by any party that such Protected Material

is relevant or material to any issue or admissible at trial. Nor shall a failure to object to the

designation of any such Protected Material be construed as a concession by the receiving parties

that such Protected Material is, in fact, confidential or otherwise entitled to protection under the

terms of this Order. All parties maintain their respective rights to object to production of any

requested documents on the grounds that they are otherwise not discoverable, including, but not

limited to, objections based on any applicable privilege, undue burden, overbreadth, relevance,

and proportionality to the needs of the case.

       13.     Control of Protected Material. All Protected Material shall be maintained under the

direct control of counsel of record in the Litigation, who shall be responsible for preventing any

disclosure thereof, except as permitted by the terms of this Order. Attorney Professionals may

review and make working copies, abstracts, and digests of Protected Material for use in connection

with the Litigation, and such working copies, abstracts, and digests shall be deemed Protected

Material under the terms of this Order provided that access to Protected Material, in whatever form

stored or reproduced, shall be limited to those persons entitled to receive such information pursuant




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to the terms of this Order and shall be appropriately marked in accordance with the terms of this

Order.

         14.   Destruction of Protected Material. Unless otherwise ordered or agreed to in writing

by the producing party, within sixty (60) days after the final termination of this litigation by

settlement or exhaustion of all appeals, all parties in receipt of Protected Material shall use

reasonable efforts to either return such materials and copies thereof to the producing party or

destroy such Protected Material and certify that fact in writing. The receiving party’s reasonable

efforts shall not require the return or destruction of Protected Material from (i) disaster recovery

or business continuity backups, (ii) data stored in back-end databases critical to application

operability and system-generated temporary folders, (iii) archived data with limited end-user

accessibility, or (iv) material that is subject to legal hold obligations or commingled with other

such material. Backup storage media will not be restored for purposes of returning or certifying

destruction of Protected Material, but such retained information shall continue to be treated in

accordance with the Order and destroyed in due course.

         15.   Counsel for the parties shall be entitled to retain copies of court papers (and exhibits

thereto), correspondence, pleadings, deposition and trial transcripts (and exhibits thereto), legal

memoranda, expert reports, communications, attorney work product, or any document or material

that constitutes a “record” as defined in the Federal Records Act as amended, 44 U.S.C. §§ 2101 et

seq., 2901 et seq., 3101 et seq., 3301 et seq.(“FRA”) and SEC rules promulgated thereunder, that

contain or refer to Protected Material, provided that such counsel and employees of such counsel

shall not disclose such Confidential Material to any person, except pursuant to court order or

required by the FRA. Nothing shall be interpreted in a manner that would violate any applicable

law including the FRA, canons of ethics, or codes of professional responsibility.




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       16.     Subpoena or Other Legal Request For Protected Material. If a person in possession

of Protected Material who is not the producing party with respect to that Protected Material

receives a subpoena or other request seeking production or other disclosure of Protected Material,

then that person shall immediately give written notice to counsel for the producing party,

identifying the Protected Material sought and the date and time that production or other disclosure

is required. In no event should production or disclosure be made without written approval by

counsel for the producing party or by further order of the Court or another court of competent

jurisdiction. For purposes of this Order, a party’s designation of Protected Material shall be

deemed a request for confidentiality under 17 C.F.R. § 200.83 in the event of a Freedom of

Information Act request for such material.

       This provision does not apply to or in any way limit the Securities and Exchange

Commission’s disclosure of Protected Material to appropriate agencies, entities, or persons,

pursuant to its statutory and regulatory obligations consistent with its Routine Uses of Information,

without notice to counsel for the producing party of any requests for or disclosure of such Protected

Material.

       17.     Inadvertent Disclosure.       Inadvertent disclosure of any Protected Material,

regardless of whether said Protected Material was so designated at the time of disclosure, shall not

be deemed a waiver in whole or in part of the protectability of the Protected Material in accordance

with the terms of this Order, either as to the specific Protected Material disclosed, or as to any

other information relating thereto or relating to the same or related subject matter. Should any

Protected Material be disclosed, through inadvertence or otherwise, to any person and/or entity not

entitled to access or review same, then such person and/or entity:




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               (a)     Will be informed promptly of all provisions of this Order by the party

               responsible for the inadvertent disclosure;

               (b)     Will immediately be identified to all parties; and

               (c)     Will be requested, in writing by the party responsible for the inadvertent

               disclosure, to return the material to the party responsible for the inadvertent

               disclosure.

       18.     To the extent that any federal or state law, regulation, or other legal authority

governing the custody, disclosure, or use of specified records, including but not limited to the

Right to Financial Privacy Act and the Privacy Act of 1974, imposes a requirement to obtain an

order of a court of competent jurisdiction to permit disclosure of such records, this Order shall

constitute compliance with such requirement, in accordance with 5 U.S.C. § 552a(b)(11) and 12

C.F.R § 310.10(b)(11). To the extent that any applicable law requires a producing party or

receiving party to obtain a court-ordered subpoena, or give or receive notice to, or proof of notice

having been given to, or obtain consent, in any form or manner, from any person or entity before

disclosure of any such records, the Court finds that, in view of the protections provided for such

disclosed information in this Order, the volume of documents to be produced and the ongoing

oversight of the Court, there is good cause to excuse such requirement, and this Order shall

constitute an express direction that the producing party is exempted from obtaining a court-ordered

subpoena, or having to notify and/or obtain consent from any person or entity prior to the

disclosure of such records. Any party may seek additional orders from this Court that such party

believes may be necessary to comply with applicable law.

       19.     Modification. This Order is without prejudice to the right of any party to apply at

any time for additional protection, or to amend, modify, or rescind the restrictions of this Order.




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The party must provide written notice to counsel of record for all parties in the Litigation

specifying the portion(s) of this Order it seeks to amend, modify, or rescind and any additional

provisions it may seek to add to the Order. The written notice must be served seven (7) calendar

days in advance of filing any such motion. The parties expressly reserve the right to seek

modification, amendment, or rescission of this Order by mutual agreement in writing.

       20.     Enforcement. All parties and persons to whom Protected Material is disclosed shall

be provided a copy of this Order and be subject to the jurisdiction of this Court, for the purpose of

enforcing this Order, whether or not they entered into the agreement attached at Exhibit A. This

Order shall continue in full force and effect, and shall be binding upon the parties and all persons

to whom Protected Material has been disclosed, both during and after the pendency of the

Litigation.

                 II.    PRIVILEGE AND ATTORNEY WORK-PRODUCT

       1.      Non-Waiver. Consistent with Federal Rule of Evidence 502(d), the production of

Discovery Material, whether or not inadvertent, shall not constitute a waiver of any Privilege

(including attorney-client privilege, attorney work-product, deliberative process privilege, law

enforcement privilege, or similar protection, and any other protections afforded by Federal Rule

of Civil Procedure 26(b)), as to any Discovery Material, or as to any other undisclosed privileged

or protected communications or information concerning the same subject matter, in this or in any

other federal or state proceeding, notwithstanding Fed. R. Evid. 502 (a) and (b).

       2.      Claw-back & Challenge Procedures.

               (a)     If the producing party determines that a document it has produced, or part

               thereof, is subject to any Privilege, the producing party shall promptly give the

               receiving party notice of the claim of Privilege (“Privilege Notice”). The Privilege

               Notice must contain information sufficient to identify the document including, if


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        applicable, a Bates number as well as an identification of the Privilege asserted and

        its basis.

        (b)     If a party discovers a document, or part thereof, produced by another party

        that is subject to any Privilege, the receiving party shall promptly notify the

        producing party and provide a reasonable opportunity for the producing party to

        give the receiving party a Privilege Notice identifying the Privilege asserted and its

        basis. However, this Paragraph (and this Order) do not shift the burden to identify

        privileged and protected documents from the producing party to the receiving party.

        (c)     Upon receiving the Privilege Notice, if the receiving party agrees with the

        Privilege assertion made, the receiving party must promptly return the specified

        document(s) and any copies or destroy the document(s) and copies and certify to

        the producing party that the document(s) and copies have been destroyed. The

        receiving party must also sequester and destroy any notes taken about the

        document. If a receiving party disclosed the document or information specified in

        the notice before receiving the Privilege Notice, it must take reasonable steps to

        retrieve it, and so notify the producing party of the disclosure and its efforts to

        retrieve the document or information.

        (d)     Upon receiving the Privilege Notice, if the receiving party wishes to dispute

        a producing party’s Privilege Notice, the receiving party shall promptly meet and

        confer with the producing party. The document(s) shall be sequestered – and, if

        applicable, securely stored – and not be used by the receiving party in the Litigation

        (e.g., filed as an exhibit to a pleading or used in deposition) while the dispute is

        pending, with the exception that it may be used in the context of a challenge to a




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               Privilege assertion, as long as the material subject to the Privilege assertion is

               redacted or sealed pending resolution of the challenge. If the parties are unable to

               come to an agreement about the Privilege assertions made in the Privilege Notice,

               the receiving party may contact chambers to propose a telephone conference with

               the Court and propose times that are convenient to both sides or file a motion with

               the Court to resolve the issue.

               (e)     Pending resolution of the judicial determination, the parties shall each

               preserve and refrain from using the challenged information for any purpose and

               shall not disclose it to any person other than those required by law to be served with

               a copy of any sealed motion authorized to be filed by the Court pursuant to this

               Paragraph. To the extent there is a motion or other filing containing documents or

               information subject to any Privilege or challenge thereto, such motion or other

               filing must not publicly disclose the information claimed to be privileged.

               Subsequent briefing or filings by any party shall also not publicly disclose the

               information claimed to be privileged if the Privilege claim remains unresolved or

               is resolved in the producing party’s favor.

       3.      Back-Up Tapes. If a document must be returned or destroyed as determined by the

process above, that document, along with copies and notes about the document, that exist on back-

up tapes, systems, or similar storage need not be immediately deleted or destroyed, and, instead,

such materials shall be overwritten and destroyed in the normal course of business. Until they are

overwritten in the normal course of business, the receiving party will take reasonable steps to limit

access, if any, to the persons necessary to conduct routine IT and cybersecurity functions.




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       4.      Additional Provisions. Nothing in this Order shall constitute an admission that any

document or information disclosed in the Litigation is properly subject to any Privilege, or that

any party is entitled to raise or assert any Privilege. Nothing in this Order shall prohibit parties

from withholding from production or seeking to compel any document covered by any applicable

Privilege or other protection.



                                              SO ORDERED,
                                              this ____ day of ______ 2023.


                                              _______________________
                                              Amy Berman Jackson
                                              United States District Judge




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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE
COMMISSION,

                      Plaintiff,

       v.                                           No. 1-23-cv-01599-ABJ-ZMF

BINANCE HOLDINGS LIMITED,
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS
INC., AND CHANGPENG ZHAO,

                     Defendants.



                                        APPENDIX A

              AGREEMENT AND CONSENT TO PROTECTIVE ORDER

The undersigned hereby declares and acknowledges as follows:

       1.    I have read the Protective Order (the “Order”) entered in the above-captioned case
on _________________, and I fully understand its contents.

        2.     I am a person described in Paragraph 3(e), (f), and/or (i) or Paragraph 5(d) and/or
(g) of the Order. I understand that by signing this agreement and consent, I will be eligible to
receive Protected Material under the terms and conditions of the Order.

        3.       I hereby agree and consent to be bound by the terms of the Order and to comply
with it in all respects, and, to that end, I hereby knowingly and voluntarily submit myself to the
personal jurisdiction of the United States District Court for the District of Columbia so that the
Court shall have the power and authority to enforce the Order and to impose appropriate sanctions
upon me for violating the Order, including punishment for contempt of court.

Dated:__________________________             ________________________________
                                             (Signature)
                                             ________________________________
                                             (Printed Name)
                                             ________________________________
                                             (Address)
